         Case 1:11-mc-00044-BAH Document 26 Filed 10/11/18 Page 1 of 3



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN RE PETITION FOR ORDER                             No. 11-mc-44 (BAH)
 DIRECTING RELEASE OF TRANSCRIPTS
 OF TESTIMONY BEFORE WATERGATE                        Chief Judge Beryl A. Howell
 GRAND JURIES


                                              ORDER

       Pending before the Court are three motions filed by petitioner Geoffrey C. Shepard, who is

proceeding pro se, regarding the unsealing of certain records related to the Watergate Special

Prosecution Force’s (“WSPF’s”) investigation of the Watergate scandal. See generally Subm. of

Supp. Info. & Request for Hearing (“First Mot. for Hr’g”), ECF No. 16; Mot. Amend Court’s

Mem. & Order (“Mot. Amend.”), ECF No. 19; Request for Hr’g (“Second Mot. Hr’g”), ECF No.

22. Mr. Shepard’s earlier petitions to unseal Watergate-related materials—including documents

submitted to the grand jury by the WSPF or then–Chief Judge John Scirica and transcripts of

statements made to the House of Representatives by the WSPF or then–Chief Judge Scirica—were

denied, except with regard to the Watergate grand jury’s Report and Recommendation, transmitted

to the United States House of Representatives (the “Road Map”). See Mem. & Order, dated May

22, 2017, at 9, ECF No. 18. The Court concluded that, “without further examination of the

material contained in the report itself,” it was unable to “assess whether disclosure might be

appropriate.” Id. at 8. Accordingly, the Court withheld ruling on the disclosure of the Road Map

until it had “an opportunity to review the report.” Id. The Court thus directed the National

Archives and Records Administration (“NARA”), the current custodian of the Road Map, to

“produce for the Court for ex parte, in camera review, a copy of [the Watergate grand jury’s]

report and recommendation that was transmitted to the House of Representatives,” id. at 9, and

directed the government to “file an ex parte, in camera memorandum regarding what information


                                                  1
          Case 1:11-mc-00044-BAH Document 26 Filed 10/11/18 Page 2 of 3



contained in the report and recommendation is not already public,” id. NARA and the government

made those filings on June 22, 2017. See generally Notice of Ex Parte, In Camera Submission,

ECF No. 20; National Archives & Records Administration’s Ex Parte, In Camera Submission

(“NARA Mem.”), ECF No. 24 (filed under seal). This case was reassigned to the undersigned on

September 20, 2018. See Minute Entry (dated Sept. 20, 2018).

        The Road Map “consists of a two-page summary statement, followed by 53 individually

numbered statements,” each of which “provides citations to documents supporting that

statement.” NARA Mem. at 1. 1 According to NARA, “there are 97 documents supporting the

53 statements of information.” Id. NARA “was able to locate duplicates of 81 of the documents

included in the Roadmap” that had been “published or released in the Watergate collection or

elsewhere in the public domain.” Id. at 1–2. In light of this previous public disclosure, and

“[w]ithout prejudice to the Department of Justice’s earlier argument with respect to the

permissible scope of [Federal Rule of Criminal Procedure] 6(e), NARA does not object to the

release of the 81 documents in the Roadmap (and corresponding portions of the report) that

NARA located in the House Judiciary Committee Report or elsewhere in the public domain,

subject to ordinary NARA processing and redactions to protect personal privacy.” Id. at 2.

Accordingly, NARA is directed to conduct its normal review and processing procedures to

release the 2-page summary, 53 statements, and those 81 documents in the Road Map.

        Given the status of this matter and the materials received by the Court, the petitioner’s

two motions for hearings are denied as unnecessary, since the papers from both the petitioner and

the Department of Justice (“DOJ”) provide ample explanation for the arguments on all sides.

The petitioner’s motion to amend the Court’s May 22, 2017 Order, such that the Order would


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         With the government’s consent, portions of NARA’s ex parte, in camera declaration are unsealed to the
extent necessary to explain the reasoning for the directions given in this Order.


                                                        2
          Case 1:11-mc-00044-BAH Document 26 Filed 10/11/18 Page 3 of 3



direct NARA to “produce any transcripts of what WSPF prosecutors told Grand Jury 1, during

January or February, 1973,” Mot. Amend at 5, is also denied, given the Court’s previous orders,

and fulsome explanations, denying the petitioner’s request for disclosure of grand jury transcripts.

See Mem. Op. & Order, dated July 29, 2011, at 3–5, ECF No. 7; Mem. & Order, dated February

3, 2012, at 3, ECF No. 11; Mem. & Order, dated May 23, 2017, at 3–7, ECF No. 18.

Accordingly, it is hereby

        ORDERED that the petitioner’s First Request for Hearing, ECF No. 16; Motion to

Amend the Court’s Memorandum and Order of May 22, 2017, ECF No. 19; and Second Request

for Hearing, ECF No. 22, are DENIED; and it is further

        ORDERED that NARA shall promptly begin the process of reviewing and releasing the

2-page summary, 53 statements, and 81 documents described in its ex parte, in camera

submission that are included in the House Judiciary Committee Report or that have otherwise

been made publicly available; and it is further

        ORDERED that the Department of Justice shall file, on November 9, 2018, and every 30

days thereafter, a status report informing the Court of the status of NARA’s review process; and

it is further

        ORDERED that the Department of Justice shall, by October 22, 2018, review the 16

remaining documents in the Road Map that NARA has not been able to locate publicly, and shall

contact any individuals whose privacy might be implicated by the release of those 16 documents

to ascertain their views regarding whether those 16 documents may be released.

        SO ORDERED.

        Date: October 11, 2018
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                                                      BERYL A. HOWELL
                                                      Chief Judge



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